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              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION

DANA LYNN ZAHEDI AND REZA
ZAHEDI,

     Plaintiffs,

v.                                        Civil No.: 1:19-cv-02291-ELR-JKL

THE BANK OF NEW YORK MELLON
TRUSTEE FKA THE BANK OF NEW
YORK, AS TRUSTEE FOR THE
CERTIFICATE HOLDERS OF
CWMBS, INC., ALTERNATIVE LOAN
TRUST 2006-8T1 MORTGAGE PASS
THROUGH CERTIFICATES SERIES
2006-7, BAYVIEW LOAN SERVICING,
LLC, and RUBLIN LUBLIN, LLC,

     Defendants.


            MEMORANDUM OF LAW IN SUPPORT
 OF RUBIN LUBLIN’S MOTION TO DISMISS AMENDED COMPLAINT

      COMES NOW, Rubin Lublin, LLC (“Rubin Lublin”) and files its

Memorandum of Law in Support of its Motion to Dismiss Plaintiffs’ Amended

Complaint pursuant to Fed. R. Civ. P. 12(b)(6), respectfully showing this

Honorable Court as follows:


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                           STATEMENT OF FACTS

A.    TITLE TO THE PROPERTY

      The instant action is nothing more than the latest effort by serial litigants

seeking avoid foreclosure of their home despite failing to satisfy their mortgage

obligation. On August 23, 2005, Dana Lynn Zahedi (“Ms. Zahedi”) obtained title

to the property located at 3950 Spalding Drive, Atlanta, Georgia 30350 (the

“Property”) via a Limited Warranty Deed recorded on August 29, 2005, in Book

40746, Page 582, Fulton County, Georgia Records (the “Warranty Deed”).1 [Doc.

15, ¶ 9]. A true and correct copy of the Warranty Deed is attached hereto as

Exhibit “A”. To finance the purchase of the Property, Plaintiffs obtained a loan in

the amount of $465,000.00 and secured the debt with a Security Deed in favor of

Mortgage Electronic Registration Systems, Inc. as nominee for America’s

Wholesale Lender (“MERS”)2. [Doc. 15, ¶ 10]. The Security Deed was recorded at

Deed Book 41350, Page 300, Fulton County, Georgia records. A true and correct

copy of the Security Deed, which has been redacted to remove privacy protected
1
  This Court may take judicial notice of documents referenced in the Complaint
that are matters of public record. Bryant v. Avado Brands, Inc., 187 F.3d 1271,
1280 (11th Cir. 1990) (permitting consideration of public records at the motion to
dismiss stage under Fed.R.Evid. 201).
2
  The Amended Complaint references the Security Deed in conjunction with its
description of a Loan Modification Agreement between Plaintiffs and Bank of
America who was the assignee of the Security Deed at the time the Loan
Modification was executed.
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information, is attached hereto as Exhibit “B”. The Security Deed names only

Dana Lynn Zahedi as a Borrower. See Ex. A at p. 1.

      On July 25, 2007 Ms. Zahedi executed a Quitclaim Deed into herself and

Reza Zahedi, via the Quit-Claim Deed recorded on August 22, 2007, at Deed Book

45574, Page 452, Fulton County, Georgia records (the “Quit Claim Deed”). On

March 5, 2011, Ms. Zahedi executed a Loan Modification agreement with BAC

Home Loans Servicing, LP, recorded On May 3, 2011 at Book 50043, Page 75,

Fulton County, Georgia records (the “Loan Modification”). The Security Deed was

last assigned to The Bank of New York Mellon f/k/a The Bank of New York, as

Trustee for the Certificate Holders of CWMBS, Inc., Alternative Loan Trust 2006-

8TI, Mortgage Pass-Through Certificates, Series 2006-7, via the Corporate

Assignment recorded on July 22, 2014 at Deed Book 54001, Page 289, Fulton

County, Georgia records (the “Assignment”). A true and correct copy of the

Assignment, which has been redacted to remove privacy protected information, is

attached as Exhibit “C”.

      Plaintiffs filed this action on April 29, 2019 in the Superior Court of Fulton

County, Georgia, Civil Action Number 2019CV320376. [Doc. 1-1]. Following

Removal to this Court, Rubin Lublin filed a Motion to Dismiss in this Court. [Doc.

14]. On October 15, 2019, Plaintiffs filed their Amended Complaint as a matter of

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course pursuant to Fed. R. Civ. P. 15. [Doc. 15]. The Amended Complaint seeks

relief against Rubin Lublin, Bayview Loan Servicing, LLC (“Bayview”), and The

Bank of New York Mellon FKA The Bank of New York, as Trustee for the

Certificate Holders of CWMBS, Inc., Alternative Loan Trust 2006-8T1 Mortgage

Pass Through Certificates Series 2006-7 (“Bank of New York”), for purported

violations of the Fair Debt Collection Practices Act (“FDCPA”), wrongful

foreclosure, and for additional damages under Georgia law. [Doc. 15].

      In support of these claims, Plaintiffs’ Amended Complaint sets forth a series

of factual allegations relating almost entirely to purported servicing errors by Bank

of America, a non-party prior servicer of their Security Deed. [Doc. 15, ¶¶ 10-21].

Specifically, they claim that various actions by that Bank of America “required

Plaintiffs to pay $6,000.00 a year for flood insurance [, and that while Bank of

America ultimately] realized their mistake [… Plaintiffs were] never credited the

overpayments. [Doc. 15, ¶¶ 11-12]. Plaintiffs then assert that Bank of America’s

alleged mistakes “forced [them] to file for bankruptcy protection on or about

September 30, 2017.” [Doc. 15, ¶ 14]. Further confusing matters, Plaintiffs

attribute the dismissal of their bankruptcy to Bank of America’s failure “to

authorize a transfer of funds from Plaintiffs to Bayview” [¶ 17], despite admitting



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in the preceding paragraph that they had not authorized such a transfer. [Doc. 15,

¶¶ 16-19].

      After admitting that their failure to correctly make payments within their

bankruptcy had resulted in the bankruptcy’s dismissal in January of 2019,

Plaintiffs claim that they attempted to make two payments to Bayview pursuant to

the Security Deed. [Doc. 15, ¶ 19]. Notably, Plaintiffs do not allege that they had

cured the default that had resulted from their failure to make payments throughout

their bankruptcy. [Doc. 15]. Plaintiffs conclude their factual recitation, with an

inexplicable attempt to attribute wrongdoing to the Defendants in this action, that

is completely unsupported by their own narrative. [Doc. 15, ¶ 36]. Their claims in

the Amended Complaint rely entirely upon the erroneous conclusion that they are

entitled to relief despite their failure to pay their mortgage or to set forth any

claims against the parties to this action. As such, the operative complaint fails to

state a claim upon which relief can be granted and must be dismissed pursuant to

Fed. R. Civ. P. 12(b)(6).

              ARGUMENT AND CITATION TO AUTHORITY

A.    STANDARD OF REVIEW

      This Court may grant a motion to dismiss pursuant to Fed. R. Civ. P.

12(b)(6) if the complaint does not state a claim that is “plausible on its

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face.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (citing Bell Atl. Corp. v.

Twombly, 550 U.S. 544, 570 (2007)). “Determining whether a complaint states a

plausible claim for relief will . . . be a context-specific task that requires the

reviewing court to draw on its judicial experience and common sense.” Id. at 679

(citation omitted). In considering a motion to dismiss, the Court must treat all well-

plead allegations of the Complaint as true. Id. However, “the tenet that a court

must accept as true all of the allegations contained in a complaint is inapplicable to

legal conclusions. Threadbare recitals of the elements of a cause of action,

supported by mere conclusory statements, do not suffice.” Id. at 678 (citing

Twombly, 550 U.S. at 555).

B.    PLAINTIFFS’ CLAIM UNDER THE FDCPA FAILS ON ITS FACE

      As an initial matter, Plaintiffs’ claim under the FDCPA fails as a matter of

law. “To state a claim under the FDCPA, a plaintiff must establish each of the

following elements: (1) that he was the object of “collection activity” arising from

“consumer debt”; (2) that the defendant qualifies as a “debt collector” under the

FDCPA; and (3) that the defendant engaged in an act or omission prohibited by the

FDCPA.” In re Ward, 583 B.R. 558, 570 (Bankr. S.D. Ga. 2018); Darrisaw v.

Pennsylvania Higher Educ. Assistance Agency (PHEAA), 2017 WL 1377719, at *2

(S.D. Ga. Apr. 11, 2017).

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      In their Amended Complaint, Plaintiffs attempt to restate the definition of

debt collector under the FDCPA. [Doc. 15, ¶¶ 38-40]. The FDCPA defines a “debt

collector” as “any person who uses any instrumentality of interstate commerce or

the mails in any business the principal purpose of which is the collection of any

debts, or who regularly collects or attempts to collect, directly or indirectly, debts

owed or due or asserted to be owed or due another.” In re Ward, 583 B.R. 558, 570

(Bankr. S.D. Ga. 2018); 15 U.S.C. § 1692a(6). “To state an FDCPA claim, the

Plaintiff must plausibly allege sufficient facts to enable the Court to draw a

reasonable inference that the Defendant meets the FDCPA's definition of ‘debt

collector.’” Kurtzman v. Nationstar Mortg. LLC, 709 Fed.Appx. 655, 658–59 (11th

Cir. 2017); In re Ward, 583 B.R. 558, 570 (Bankr. S.D. Ga. 2018).

      Here, Plaintiffs state that “Defendant Rubin is a debt collector under the

FDCPA because it uses the mail for the purpose of collection of debts, directly and

indirectly, debts owed or due to another [sic].” [Doc. 15, ¶ 40]. Importantly, this

conclusion is completely unsupported by any allegation regarding Rubin Lublin’s

use of the mail, or any collection activity whatsoever. [Doc. 15]. Plaintiffs fail to

allege any facts whatsoever regarding any communication by mail, or otherwise

with Rubin Lublin. [Doc. 15].



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      Moreover, while the Amended Complaint limits the subject of Plaintiffs’

FDCPA claim to an incorrect amount of debt on the notice of foreclosure, they do

not allege any action by Rubin Lublin that relates to the notice. [Doc. 15, ¶¶ 23,

37-44]. Instead they claim that “Bayview sent Plaintiffs a notice of foreclosure

sale.” [Doc. 15, ¶23]. Nevertheless, they seek relief against all of the named

Defendants for purportedly making “false representations of the amount of the

debt; specifically, Defendants knowingly attempted and are attempting to collect [a

debt]”, [Doc. 15, ¶ 42]. Without any facts to support a claim under the FDCPA

against Rubin Lublin, Plaintiffs’ generalized and conclusory statements fail to

plead a sufficient claim.

      Moreover, to the extent that Plaintiffs impermissibly seek damages for some

unspecified emotional and physical distress related to their failed FDCPA claim,

such relief is not permitted under the FDCPA. Pursuant to 15 U.S.C. §

1692k(a)(1)-(2), a plaintiff can recover “any actual damage” and “such additional

[statutory] damages as the court may allow, but not exceeding $1,000.” “In

contrast to statutory damages, a defendant is not strictly liable for actual damages,

and a plaintiff who does not plead or prove any specific loss will not recover actual

damages under the FDCPA.” Soren v. Equable Ascent Fin., LLC, No. 2:12-cv-

00038, 2012 WL 2317362, at *3 (D. Utah June 18, 2012) (citing Emanuel v. Am.

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Credit Exch., 870 F.2d 805, 805 (2d Cir. 1989)); see also Hazell v. Bank of Am.,

N.A., No. 1:12-cv-1707-JEC-JSA, [Doc. 34] at p. 27 (N.D. Ga. Dec. 14, 2012)

(citing Emanuel, 870 F.2d at 809), report and recommendation adopted at [Doc.

37] (N.D. Ga. Jan. 4, 2013). Conclusory allegations will not suffice to show actual

damages, and specific damages must be pleaded. Id. Here, Plaintiffs allege that

they “have suffered damages as a result of severe emotional and physical distress

in an amount to be determined at trial.” [Doc. 15, ¶ 43]. This claim does not

constitute actual damages, nor does it meet the requisite level of specificity

regarding the nature of their purported injury and the amount related to it.

      As Plaintiffs have completely failed to demonstrate any actual damages, and

to properly plead a claim under the FDCPA, their claim fails as a matter of law. In

considering a motion to dismiss, the Court must treat all well-plead allegations of

the Complaint as true. Ashcroft v. Iqbal, 556 U.S. 662, 679 (2009). However, “the

tenet that a court must accept as true all of the allegations contained in a complaint

is inapplicable to legal conclusions. Threadbare recitals of the elements of a cause

of action, supported by mere conclusory statements, do not suffice.” Ashcroft v.

Iqbal, 556 U.S. 662, 678 (2009) (citing Bell Atl. Corp. v. Twombly, 550 U.S. 544,

555 (2007)).



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C.    PLAINTIFFS’         STATE       LAW       CLAIMS        ARE      SIMILARLY
      DEFICIENT

      Additionally, while Plaintiffs allege state law claims for wrongful

foreclosure and seek the remedy of attorney’s fees, their efforts fail as a matter of

law. In Georgia, the existence of a foreclosure sale is a necessary precondition for

a Plaintiff asserting a claim for wrongful foreclosure-- where no foreclosure has

taken place, such a claim must fail. Smith-Tyler v. Bank of Am., N.A., 992 F. Supp.

2d 1277, 1281 (N.D. Ga. 2014); Jenkins v. McCalla Raymer, LLC, 492 Fed. Appx.

968, 972 (11th Cir. 2012). Here, Plaintiffs admit that the foreclosure at issue in this

action was cancelled prior to any sale. [Doc. 15, ¶ 26]. Further, they do not allege

that any sale was subsequently rescheduled, or that it occurred. [Doc. 15]. Without

such allegations Plaintiffs fail to meet the minimum requirements to bring their

claim. Jeffrey v. U. S. Bank Nat'l Ass'n for Structured Asset Inv. Loan Tr. Mortgage

Pass Through Certificates Series 2004-2 & McCalla Raymer Leibert Pierce, LLC,

1:17-CV-3751-TCB-LTW, 2018 WL 3702456, at *6 (N.D. Ga. May 29, 2018),

report and recommendation adopted sub nom. Jeffrey v. U.S. Bank Nat'l Ass'n,

1:17-CV-3751-TCB, 2018 WL 3702429 (N.D. Ga. June 20, 2018); Ligon v. BAC

Home Loans Serv., LP., No. 1:11-CV-3811-RWS, 2012 WL 4464946, at *1 (N.D.

Ga. Sept. 25, 2012); Mayrant v. Deutsche Bank Trust Co. Americas, No. 1:10-CV-

3094-TWT, 2011 WL 1897674, at *2 (N.D. Ga. May 17, 2011). As such,
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Plaintiffs’ count for wrongful foreclosure fails for want of an actual foreclosure

and their second count must be dismissed in its entirety.

      Having dispensed with both independent causes of action in the Complaint,

Plaintiffs efforts to recover attorney’s fees under O.C.G.A. § 13-6-11 lack the

necessary foundation to continue. In Georgia, § 13-6-11, is a remedy and not an

independent claim. [It] ... merely establishes the circumstances in which a plaintiff

may recover the expenses of litigation as an additional element of damages.” In re

Ellerbee, 177 B.R. 731, 746 (Bankr. N.D. Ga. 1995) (Citing Brown v. Baker, 197

Ga.App. 466, 467, 398 S.E.2d 797 (1990)). A party seeking attorney’s fees under §

13-6-11 must have “an underlying claim” to support an award of fees. Gilmour v.

Am. Nat’l Red Cross, 385 F.3d 1318, 1324 (11th Cir. 2004). As addressed above

each of the Plaintiffs claims in this action fail as a matter of law and their

Amended Complaint does not set forth any viable claim for relief. Accordingly,

Plaintiffs’ Amended Complaint fails as a whole and must be dismissed.

E.    PLAINTIFFS HAVE ALLEGED NO CLAIMS AS TO RUBIN
      LUBLIN

      Finally, even if Plaintiffs’ Amended Complaint survives as whole, Plaintiffs

have failed to bring any allegations against Rubin Lublin to support the law firm’s

continued participation in this action. [Doc. 15]. To survive a 12(b)(6) Motion, a

complaint is analyzed to see if it states a plausible claim for relief on its face.
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Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (citing Bell Atl. Corp. v. Twombly, 550

U.S. 544, 570 (2007)). In the instant matter, despite averring that each of the

claims has been brought “(Against All Defendants)[,]” Plaintiffs make only two

substantive references to Rubin Lublin in the entire pleading. [Doc. 15, ¶¶ 30, 40].

      First, in paragraph 30 Plaintiffs aver that Rubin Lublin “[s]erv[es] as legal

counsel to Bayview, [and] is an agent of Bayview.” [Doc. 15, ¶ 30]. Couched

beneath a header “Defendants [sic] Actions Giving Rise to Plaintiffs’ Claims” this

averment is confusing for several reasons. First, as a practical matter, Rubin Lublin

is not legal counsel for Bayview in this action, a fact which is made abundantly

clear by each of Bayview’s previous filings into the docket. [See Docs. 1, 2, 3, 8,

10, 13]. Second, even if Rubin Lublin served as Bayview’s counsel in this action,

the existence of an attorney client relationship is completely irrelevant to any

purported violation of Plaintiffs’ rights. As such the facts as alleged do not permit

the court to infer even the mere possibility of misconduct by Rubin Lublin, and the

complaint fails to demonstrate that Plaintiffs’ are entitled to relief. Ashcroft v.

Iqbal, 556 U.S. 662, 679 (2009).

      The second, and last, reference to Rubin Lublin appears in Paragraph 40 of

the Amended Complaint beneath Plaintiffs’ count for alleged “Violation of the Fair

Debt Collection Practices Act.” As addressed in more detail in section B supra,

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Plaintiffs have not alleged facts to support the inclusion of Rubin Lublin in relation

to this claim. Accordingly, having failed to allege any acts, omissions,

infringements, or violations of rights by Rubin Lublin, Plaintiffs Amended

Complaint fails to bring a good claim. Bell Atl. Corp. v. Twombly, 550 U.S. 544,

555 (2007); Conley v. Gibson, 355 U.S. 41, 47 (1957). Rubin Lublin is wholly

without “fair notice of what the ... claim [against it] is and the grounds upon which

[it] rests”. Id. Plaintiffs’ Amended Complaint must be dismissed.

                                  CONCLUSION

      Based on the foregoing, Rubin Lublin respectfully requests that this Court

grant its Motion to Dismiss.

      Respectfully submitted, this 29th day of October 2019.

                                       /s/ Bret J. Chaness
                                       BRET J. CHANESS (GA Bar No. 720572)
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                          FONT CERTIFICATION

      The undersigned counsel hereby certifies that the within and foregoing was

prepared using Times New Roman, 14-point font in accordance with LR 5.1(B).

      This 29th day of October 2019.

                                       /s/ Bret J. Chaness
                                       BRET J. CHANESS (GA Bar # 720572)




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                         CERTIFICATE OF SERVICE

      I hereby certify that I have this 29th day of October 2019, served all parties

in this matter with the within and foregoing by CM/ECF (registered users only)

and by placing a true and correct copy of same in the United States Mail, with first-

class prepaid postage affixed thereto, properly addressed as follows:

      John Michael Kearns
      Terminus 200, Suite 1200
      3333 Piedmont Rd., N.E.
      Atlanta, Georgia 30305

      Devin B. Phillips
      5887 Glenridge Dr., NE, Ste. 275
      Atlanta, Georgia 30328

                                       /s/ Bret J. Chaness
                                       BRET J. CHANESS (GA Bar No. 720572)




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